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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA

 9      UNITED STATES OF AMERICA,                         CASE NO. CR97-5334RJB
10                             Plaintiff,                 ORDER
11              v.

12      LEE RUSHING,

13                             Defendant.

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            This matter comes before the court on the Motion for Early Termination of Supervised
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     Release (Dkts. 218 & 219) filed pro se by the defendant. The motion was filed by means of a
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     letter and attachments filed by the defendant under said Docket Numbers. The court deems the
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     letter to be a Motion for Early Termination of Supervised Release. The noting date for said
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     motion was set by the clerk for October 25, 2013. Neither government’s counsel nor the
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     probation department have responded to the motion. The court desires responses to the motion
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     from both the government and probation office, and therefore the motion is RENOTED for
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     December 6, 2013, and responses from the government and the probation department on or
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     before that date are hereby requested.
23
            IT IS SO ORDERED.
24


     ORDER- 1
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 1         The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 2 to any party appearing pro se at said party’s last known address. Copies of this order should be

 3 sent to the Probation Office and to defendant Rushing at the address listed in his motion.

 4         Dated this 22nd day of November, 2013.



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                                         ROBERT J. BRYAN
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                                         United States District Judge
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     ORDER- 2
